Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 24-CR-00150-GKF

DIMITRI ZANTHONY WILLIAMS,

Defendant.

Plea Agreement
The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and Adam C. Bailey, Assistant
United States Attorney, and the defendant, DIMITRI ZANTHONY WILLIAMS, in
person and through counsel, Todd Tucker, respectfully inform the Court that they
have reached the following plea agreement.
1. Plea

The defendant agrees to enter voluntary pleas of guilty to the following:

COUNT ONE: 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) — Possession of Fentanyl
with Intent to Distribute

COUNT TWO: 18 U.S.C. § 933(a) and (b) — Firearms Trafficking
as set forth in the Information in the instant case, Northern District of Oklahoma,

and admits to being in fact guilty as charged in the counts to which the defendant is

pleading guilty.

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Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 2 of 18

2. Waiver of Constitutional Rights

The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the night to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j. the right to appeal a guilty verdict to determine if any errors had been
committed during trial that would require either a new trial or a dismissal of the
charges;

k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

Il. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

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Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 3 of 18

By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual
basis for the defendant’s plea.

3. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following

terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory
maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of
any post-conviction motion to reduce the term of supervised release or probation
under 18 U.S.C. §§ 3583(e)(1) or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and
sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

The defendant expressly acknowledges that counsel has explained his appellate

and post-conviction rights; that the defendant understands his rights; and that the

defendant knowingly and voluntarily waives those rights as set forth above.

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Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 4 of 18

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RI ZANTHONY WILLIAMS

4. Departure and Variance Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees not to request,
recommend, or file a sentencing memorandum or a variance or departure motion
seeking a sentence below the applicable Guidelines range.

5. Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule
11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent
proceeding, including a criminal trial, the following shall be admissible against the
defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

a. A guilty plea which is later withdrawn or that the defendant seeks to
withdraw;

b. The facts that the defendant has admitted under this plea agreement, as
well as any facts to which the defendant admits in open court at the plea hearing,

Revised 05-21-24 LP i y

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 5 of 18

and any statement made in any proceeding under Rule 11 regarding this plea
agreement; and

c. Any statement made during plea discussions with an attorney or agent for

the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn.

7.

Payment of Monetary Penalties

a. Enforcement

1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of
returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

Revised 05-21-24 } ) bu

Defendant's Initials
Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 6 of 18

8.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the defendant
enters a guilty plea. The defendant agrees to update any material changes in
circumstances, as described in 18 U.S.C. § 3664(k), within seven days of the
event giving rise to the changed circumstances.

4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant authorizes the United States Attorney’s Office to inspect
and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other
penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

Forfeiture Agreement

The defendant agrees to forfeit, pursuant to Title 18, United States Code, Section

924(d)(1), Title 21, United States Code, Section 853 and Title 28, United States Code,

Section 2461(c), the following property, involved in or used or intended to be used, the

property constituting or derived from proceeds traceable to the offenses, and any

firearm and ammunition involved in or used in the knowing commission of the

offenses, including but not limited to:

Revised 05-21-24

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Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 7 of 18

FIREARMS AND AMMUNITION

1.

A Romanian Arms, Model ROA 22, 7.62x39 Mini Draco, serial number
PMB3843;

A Glock, Model 48, 9mm handgun, serial number BWWA/748;

A Smith and Wesson, Model MP92.0, 9mm handgun, serial number
NCE9157;

A Glock, Polymer Style, 9mm handgun, serial number unknown;
An Omega, Model P1, 5.56mm rifle, serial number EP00130;
A Mossberg, Model 800, 12 gauge shotgun, serial number H362784;

A Mossberg, Model Maverick/8BLK, 12 gauge shotgun, serial number
MV11455H;

A Glock, Model 17, 9mm SBR machine gun, serial number ABFL820;
An SKS, 7.62x39 caliber rifle, serial number A0070;

A Remington, Model 700, 30-06 caliber rifle, serial number RARO17676;

. A Remington, Model 870, 12 gauge shotgun, serial number 157574V; and

Unknown amount of ammunition and magazines.

Defendant agrees to take all steps as requested by the forfeiting authority to pass

clear title to forfeitable assets, including, but not limited to, the execution of a consent

decree of forfeiture and the completion of any other legal documents required for the

transfer of title.

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Revised 05-21-24 {/ J

Defendant's Initials
Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 8 of 18

Defendant agrees that the forfeited property is subject to seizure and forfeiture by
the United States, and that no defense exists to the seizure and forfeiture of this
property by the United States. As such, defendant hereby relinquishes all claim, title,
and interest in the above-referenced property to the United States and agrees not to
oppose any civil, administrative, or judicial forfeiture of the property.

Defendant waives any and all interest in the above property and consents to their
forfeiture by whatever process the government chooses. Defendant agrees that the
government may use this waiver and consent in any administrative or judicial
forfeiture proceeding, whether criminal or civil, state, local or federal. If defendant
has filed a claim to the above-mentioned assets in any forfeiture process, defendant
hereby agrees to withdraw it. Defendant further agrees not to file a claim to the above
identified assets or properties in any future forfeiture proceeding of whatever type. In
the event that the law enforcement agency having custody of the property decides not
to pursue forfeiture of any of the seized property, defendant hereby abandons any
interest in such property and consents to its destruction by, and/or abandonment to,
the law enforcement agency.

The defendant understands that forfeiture is part of the sentence that will be
imposed in this case and waives any failure by the Court to advise defendant of this,
pursuant to Rule 11(b)(1)(J), at the time defendant’s guilty plea is accepted. The
defendant further understands, pursuant to Rule 32.2(b)(4)(A), that the order of

forfeiture will become final as to the defendant upon entry. The defendant waives

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Revised 05-21-24 + by

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 9 of 18

notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment. The defendant also
waives all constitutional and statutory challenges in any manner (including direct
appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance
with this plea agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment.

9. Special Assessment

a. The defendant hereby agrees to pay the total Special Monetary Assessment
($100 per felony count) to the United States District Court Clerk at or before
sentencing or as otherwise directed by the District Court.

10. Factual Basis and Elements

To convict defendant under 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), the

government must prove the following elements beyond a reasonable doubt:

1. Defendant knowingly possessed fentanyl with the intent to distribute it; and

2. The substance distributed was in fact fentanyl.

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such

evidence.

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Revised 05-21-24 { Ww

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 10 of 18

To convict defendant under 18 U.S.C. § 933(a) and (b), the government must

prove the following elements beyond a reasonable doubt:

1. Defendant knowingly attempted to ship, transport, transfer, cause to be
transported or dispose of a firearm to another person in or otherwise affecting
interstate commerce, knowing or having reasonable cause to believe that the use,
carrying, or possession of the firearms by the recipient would constitute a felony; and

2. That the attempted shipping, transporting, transferring, causing to be transported
or disposition of the firearm was in or otherwise affecting interstate commerce.

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.

The defendant, DIMITRI ZANTHONY WILLIAMS admits to knowingly,
willfully and intentionally committing or causing to be committed the acts
constituting the crimes alleged in Counts One and Two in the instant case, and
confesses to the Court that the defendant is, in fact, guilty of such crimes.

I, Dimitri Williams, admit that on August 10, 2023, my residence
located at 903 North Winston Avenue, in Tulsa, Oklahoma, in the
Northern District of Oklahoma, was the target of a court issued search
warrant. Inside the home, I possessed eleven firearms that I intended to
ship, transport, transfer, cause to be transported or dispose of to others as
part of a scheme to illegally distribute firearms to convicted felons and
drug traffickers.

I took substantial steps in modifying and preparing the firearms to be
transported and transferred to parties I knew would be committing a
felony crime by receiving them from me. All firearms in my possession
had been manufactured outside the state of Oklahoma and moved in
interstate commerce prior to my possession.

10
Revised 05-21-24 Py

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 11 of 18

At the same time I possessed firearms, I also possessed a trafficking
amount of fentanyl that I planned to distribute to other people in
exchange for money. I now know that fentanyl is a Schedule II
controlled substance and that substance conclusively tested positive as

fentanyl.

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DIMITRI ZANTHONY WILLIAMS Date
Defendant

11. Further Prosecution

The United States shall not initiate additional criminal charges against the
defendant in the Northern District of Oklahoma that, as of the date of the
defendant’s acceptance of this agreement, arise from its investigation of the
defendant’s actions and conduct giving rise to the instant Information. The defendant
understands, however, that this obligation is subject to all “Limitations” set forth
below, and that the United States Attorney’s Office for the Northern District of
Oklahoma is free to prosecute the defendant for any illegal conduct (7.e., violation of
federal criminal laws) not discovered by or revealed to the government before the

date of this agreement or occurring after the date of this agreement.

Revised 05-21-24 : iy

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 12 of 18

12. Dismissal of Remaining Counts

If the Court finds the defendant’s pleas of guilty to be freely and voluntarily made
and accepts the pleas, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

If the defendant’s guilty pleas are rejected, withdrawn, vacated, or reversed at any
time, any charges that have been dismissed may be reinstated or re-presented to a
grand jury, and the government will be free to prosecute the defendant for all
charges. Under these circumstances, the defendant waives any right to argue that the
Double Jeopardy clause bars the defendant’s federal prosecution, as well as any
objections, motions, or defenses based upon the applicable statute of limitations, the
Speedy Trial Act, or constitutional restrictions as to the timeliness of any renewed
charges.

13. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the
Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the
defendant’s Guidelines offense level qualifies him for such a reduction. The
sentencing judge is in a unique position to evaluate the acceptance of responsibility,
and the Court will ultimately decide whether to apply any § 3E1.1 reduction for

timely acceptance of responsibility.

Defendant's Initials

Revised 05-21-24

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 13 of 18

Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, his involvement in the crimes to which he is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)
advances false or frivolous issues in mitigation, the government expressly reserves
the right to withdraw any recommendation regarding acceptance of responsibility

without breaching the agreement.

14. Sentence
a. Imprisonment
The defendant acknowledges that under 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)
the, the maximum statutory sentence is twenty years of imprisonment and a fine of
not more than $1,000,000.
The defendant acknowledges that under 18 U.S.C. § 933(a) and (b), the
maximum statutory sentence is fifteen years of imprisonment and a fine of not more

than $250,000.

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Revised 05-21-24 L-

Defendant's Initials
Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 14 of 18

b. Supervised Release

Additionally, the defendant is aware, if imprisonment is imposed, that the Court
must include as part of the sentence a requirement that after imprisonment the
defendant must be placed on a term of supervised release of at least three years and
up to life (Count 1) and may be placed on a term of supervised release of up to three
years (Count 2). Violation of any condition of supervised release may result in
revocation, or modification of the conditions, of supervised release, which may in
turn result in additional incarceration consistent with 18 U.S.C. § 3583(e).

c. Guidelines

The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.

The defendant is further aware that the Court determines the sentence, that the
Court has not yet done so, and that any estimate of the sentence — received from any
source — is a prediction, not a promise. Regardless of any estimate the defendant has
received, the Court has discretion to impose any sentence up to and including the
statutory maximum.

15. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,
binds or otherwise affects the rights, powers, duties or obligations of any state or

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Revised 05-21-24 Ly WY

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 15 of 18

local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of
Justice and the trustee in bankruptcy. Having been fully apprised by defense counsel
of the right to seek compensation pursuant to Public Law 105-119, the defendant
WAIVES any and all such right, and stipulates that defendant is not a “prevailing
party” in connection with this case.

16. Breach of Agreement

In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court
shall determine whether a party has completely fulfilled all its obligations under this
agreement in an appropriate proceeding at which any disclosures and documents
provided by either party shall be admissible and at which the complaining party shall
be required to establish any breach by a preponderance of the evidence. If the Court
determines that the defendant has breached the plea agreement, the government may
declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses

contained in or relating to the charges in this case, as well as false statement,

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Revised 05-21-24 | Av
Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 16 of 18

obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal
Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save
and except if the Court determines that the government has breached the plea
agreement as set forth above. If DIMITRI ZANTHONY WILLIAMS, after entry of
a plea of guilty, unsuccessfully attempts to withdraw that guilty plea, the government
may continue to enforce the agreement but will no longer be bound by any particular
provision in this agreement, unless the Court determines that the government acted
in bad faith to bring about the attempted plea withdrawal.

17. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea
agreement and the Plea Agreement Supplement that the United States will file in this
case (as it does in every case, even if there are no additional terms) and none will be

entered into unless executed in writing and signed by all of the parties.

SO AGREED:

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

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Revised 05-21-24 [Y

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 17 of 18

Assistant United States Attorney

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TODD-TUCKER Dated /

orney for Defendant

A) a
IMITRI ZANTHONY WILLIAMS Dated
Defendant

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Revised 05-21-24

Defendant's Initials

Case 4:24-cr-00150-GKF Document 31 Filed in USDC ND/OK on 07/11/24 Page 18 of 18

I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.

f)

DIMITRI ZANTHONY WILLIAMS Dated
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Information. Further, I have
reviewed the provisions of the Sentencing Guidelines and Policy Statements and I
have fully explained to the defendant the provisions of those Guidelines which may
apply in this case. I have carefully reviewed every part of this plea agreement with

the defendant. To my knowledge, the defendant’s decision to enter into this

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Cotnsel for the Defendant

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Revised 05-21-24 “a

Defendant's Initials

voluntary one.

